Case 1:21-cr-00537-JMC Document1 Filed 09/29/21 Page 1of1

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
v. ) Case: 1:21-mj-00618
JAMES TATE GRANT Assigned to: Judge Meriweather, Robin M.
DOB: XXXXXxX ) Assign Date: 9/29/2021
) Description: COMPLAINT W/ ARREST WARRANT
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
in the District of Columbia __, the defendant(s) violated:

Code Section Offense Description

18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting Bodily Injury;
18 U.S.C. §§ 231(a)(3), 2 - Civil Disorder;

18 U.S.C. § 1512(c)(2)- Obstruction of an Official Proceeding;

18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds;

18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;

40 U.S.C. § 5104(e)(2)(C)- Entering and Remaining in Certain Rooms in the Capitol Building;

40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;

40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings;

40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.

This criminal complaint is based on these facts:

See attached statement of facts.

MM Continued on the attached sheet.

Z
V,

bv Complainant’s signature

John M. Mocello, Task Force Officer

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone.
A ~ Aime—
Date: 09/29/2021
Judge’s signature
City and state: Washington, D.C. Robin M. Meriweather, U.S. Magistrate Judge

Printed name and title
